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 2                              UNITED STATES DISTRICT COURT
 3                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 4                                    WESTERN DIVISION
 5
 6 FRANK ROCHA, et al.,
 7                Plaintiffs,                       Case No. 2:24-cv-07054-DSF-AJR
 8                       v.
                                                    [PROPOSED] ORDER ON
 9    U.S. IMMIGRATION AND                          UNOPPOSED MOTION FOR FOR
      CUSTOMS ENFORCEMENT,                          LEAVE FOR TELEPHONIC
10                                                  APPEARANCE AT SCHEDULING
                  Defendant.                        CONFERENCE
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14          Upon consideration of the Plaintiff’s Unopposed Motion For Leave for Telephonic
15    Appearance at Scheduling Conference, the Court finds that Plaintiff has established
16    extraordinary circumstances to allow telephonic appearance and grants Plaintiff’s
17    motion.
18          IT IS SO ORDERED.
19     Dated:
                                           __________________________________
20
                                           DALE S. FISCHER
21                                         UNITED STATES DISTRICT JUDGE
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